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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION

                                               CASE NO.:

  WINDY LUCIUS,

          Plaintiff,

  v.

  THATS A WRAP SANDWICH CO.

          Defendant.
                                                                  /

                               COMPLAINT FOR INJUNCTIVE RELIEF

          Plaintiff, WINDY LUCIUS, (“Plaintiff”), hereby sues the Defendant, THATS A WRAP

  SANDWICH CO. (“Defendant”), a Florida corporation, for Injunctive Relief, attorney’s fees,

  litigation expenses and costs pursuant to Title III of the Americans with Disabilities Act of 1990,

  as amended, 42 U.S.C. §§s 12181-12189 (“ADA”), 28 C.F.R. Part 36, et seq.

          1.      Venue lies in the Southern District of Florida pursuant to 28 U.S.C. § 1391(b) and

  Local Rule 3.1, in that the original transaction or occurrence giving rise to this cause of action

  occurred in this District.

          2.      Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343, this Court has been given

  original jurisdiction over actions which arise from the Defendant’s violations of Title III of the

  Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. See also 28 U.S.C. § 2201 and § 2202.

          3.      Plaintiff is a Florida resident, lives in Miami-Dade County, is sui juris, and qualifies

  as an individual with disabilities as defined by the ADA. Plaintiff is legally blind and a member

  of a protected class under the ADA, 42 U.S.C. § 12102(1)-(2), the regulations implementing the

  ADA set forth at 28 CFR §§ 36.101 et seq. and in 42 U.S.C. 3602, §802(h). Plaintiff is substantially
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  limited in the major life activity of seeing. Plaintiff’s disability is defined in 28 C.F.R.

  §36.105(b)(2).

         4.        Plaintiff also utilizes the internet and a smart phone. Plaintiff is unable to read

  computer materials and/or access and comprehend internet and smart phone applications

  information without software specially designed for the visually impaired. Specifically, Plaintiff

  utilizes the Voice Over Screen Reader software for the IOS operating system.

         5.        Plaintiff is also an advocate of the rights of similarly situated disabled persons and

  is a “tester” for the purpose of asserting her civil rights and monitoring, ensuring, and determining

  whether places of public accommodation and/or their internet and/or smart phone applications are

  in compliance with the ADA.

         6.        Defendant owns and operates a places of public accommodation which are

  sandwich shops branded “That’s A Wrap Sandwich Shop.” Defendant owns several sandwich

  shops in South Florida and each sandwich shop is open to the public. Therefore, each sandwich

  shop is a Place of Public Accommodation subject to the requirements of Title III of the ADA and

  its implementing regulation as defined by 42 U.S.C. §12181(7)(B), §12182, and 28 C.F.R.

  §36.104(2). Defendant’s That’s A Wrap Sandwich Shops are also referenced throughout as

  “place(s) of public accommodation,” or “sandwich shop(s).”

         7.        Defendant is defined as a “Public Accommodation" within meaning of Title III

  because Defendant is a private entity which owns and/or operates “[A] restaurant, bar, or other

  establishment serving food or drink,” 42 U.S.C. §12181(7)(B) and 28 C.F.R. §36.104(2).

         8.        Subsequent to the effective date of the ADA, Defendant constructed, or caused to be

  constructed, an Apple Smartphone Application (“APP”), hereinafter referenced as “APP”. On

  information and belief, Defendant is the owner, operator, lessor and/or lessee of the APP.




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  Defendant’s APP supports, is an extension of, is in conjunction with, is complementary and

  supplemental to, Defendant’s That’s A Wrap Sandwich Shops. The APP delineates the goods,

  services, accommodations, privileges, benefits and facilities available to patrons at Defendant’s

  sandwich shop physical locations. On information and belief, Defendant also continually and/or

  periodically updates and maintains its APP.

           9.       This APP provides information about Defendant's sandwich shops and is offered

  by Defendant as a way for the public to become familiar with That’s A Wrap Sandwich Shop menu

  selections as well as information on hours of operation and locations. Most importantly, the APP

  permits users to order food and drinks using the APP and have the order ready for pick up at the

  sandwich shop. By the provision of menu selection and to-go order selection, the APP is an

  integral part of the goods and services offered by Defendant. By this nexus, the APP is

  characterized as a service of a Place of Public Accommodation to Title III of the ADA1, 42 U.S.C.

  §§ 12181(7)(B).

           10.      Defendant and alike eating establishments are fully aware of need to provide full

  access to all visitors to its APP.2

           11.      Such barriers result in discriminatory and unequal treatment of individuals with

  disabilities who are visually impaired and result in punishment and isolation of blind and low

  vision individuals from the rest of society.



  1
    “The Department of Justice has long taken the position that both State and local government Websites and the
  websites of private entities that are public accommodations are covered by the ADA. In other words, the websites of
  entities covered by both Title II and Title III of the statute are required by law to ensure that their sites are fully
  accessible to individuals with disabilities.” (See: Statement of Eve Hill Senior Counselor to the Assistant Attorney
  General for the Civil Rights Department of Justice - Before the Senate Committee on Health, Education, Labor &
  Pensions United States Senate – Concerning The Promise of Accessible Technology: Challenges and Opportunities –
  Presented on February 7, 2012.
  2
    Major Retailing Trade Magazines have been publishing articles to alert retailer of the need to update their websites
  in light of current legal trends and cases e.g. (https://www.digitalcommerce360.com/2016/04/01/web-accessibility-
  what-e-retailers-need-know/), (www.retailingtoday.com/article/lawsuit-highlights-importance-ada-compliance )


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          12.    Plaintiff has no plain, adequate, or complete remedy at law to redress the wrongs

  alleged herein and this action is her only means to secure adequate redress from Defendant’s

  discriminatory practice.

          13.    Notice to Defendant is not required as a result of Defendant’s failure to cure the

  violations. Enforcement of the rights of Plaintiff is right and just pursuant to 28 U.S.C. §§ 2201,

  2202.

          14.    Plaintiff has been obligated to retain the civil rights law office of J. Courtney

  Cunningham, PLLC and has agreed to pay a reasonable fee for services in the prosecution of this

  cause, including costs and expenses incurred. Plaintiff is entitled to recover those attorney’s fees,

  costs and expenses from Defendant pursuant to 42 U.S.C. §12205 and 28 CFR 36.505.

                    COUNT I – VIOLATIONS OF TITLE III OF THE ADA

          15.    The ADA and implementation of ADAAG requires that Public Accommodations

  (and Places of Public Accommodation) are required to ensure that communication is effective,

  which includes the provision of auxiliary aids and services for such purpose.

          16.    According to 28 C.F.R. Section 36.303(b)(1), auxiliary aids and services includes

  “voice, text, and video-based telecommunications products and systems.” 28 C.F.R. Section

  36.303(b)(2) specifically states that screen reader software is an effective method of making

  visually delivered material available to individuals who are blind or have low vision.

          17.    28 C.F.R. Section 36.303(c)(1)(ii) specifically states that public accommodations

  must furnish appropriate auxiliary aids and services where necessary to ensure effective

  communication with individuals with disabilities. “In order to be effective, auxiliary aids and

  services must be provided in accessible formats, in a timely manner, and in such a way as to protect

  the privacy and independence of the individual with a disability.”




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         18.     Part 36 of Title 28 of the C.F.R. was designed and is implemented to effectuate

  subtitle A of Title III of the ADA, which prohibits discrimination on the basis of disability by

  public accommodations and requires places of public accommodation to be designed, constructed,

  and altered in compliance with the accessibility standards established by Part 36.

         19.     Defendant’s APP has been designed to integrate with its That’s A Wrap Sandwich

  Shop physical locations because of the ability for patrons to order and pay for food and drink

  selections online, therefore the APP is an extension of Defendant's sandwich shop physical

  locations (which are each a Place of Public Accommodation). By and through its APP, Defendant

  has extended its Places of Public Accommodation into individual persons' homes, portable devices

  (smart phones), and personal computers wherever located. The APP is a service, facility, privilege,

  advantage, benefit and accommodation of Defendant's Places of Public Accommodation. As such,

  Defendant’s APP is integrated with, and is a nexus to, its sandwich shop physical locations.

  Therefore, it is governed by the following provisions:

                 a.      42 U.S.C. Section 12182(a) provides: “No individual shall be discriminated

  against on the basis of disability in the full and equal enjoyment of the goods, services, facilities,

  privileges, advantages, or accommodations of any place of public accommodation by any person

  who owns, leases (or leases to), or operates a place of public accommodation.”

                 b.      42 U.S.C. Section 12182(b)(1)(A)(i) provides: “It shall be discriminatory to

  subject an individual or class of individuals on the basis of a disability or disabilities of such

  individual or class, directly, or through contractual, licensing, or other arrangements, to a denial

  of the opportunity of the individual or class to participate in or benefit from the goods, services,

  facilities, privileges, advantages, or accommodations of an entity[.]”

                 c.      42 U.S.C. Section 12182(b)(1)(A)(ii) provides: “It shall be discriminatory to




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  afford an individual or class of individuals, on the basis of a disability or disabilities of such

  individual or class, directly, or through contractual, licensing, or other arrangements with the

  opportunity to participate in or benefit from a good, service, facility, privilege, advantage, or

  accommodation that is not equal to that afforded to other individuals[.]”

                  d.       42 U.S.C. Section 12182(b)(1)(A)(ii) provides: “It shall be discriminatory to

  provide an individual or class of individuals, on the basis of a disability or disabilities of such

  individual or class, directly, or through contractual, licensing, or other arrangements with a good,

  service, facility, privilege, advantage, or accommodation that is different or separate from that

  provided to other individuals, unless such action is necessary to provide the individual or class of

  individuals with a good, service, facility, privilege, advantage, or accommodation, or other

  opportunity that is as effective as that provided to others[.]”

                  e.       42 U.S.C. Section 12182(b)(1)(B) provides: “Goods, services, facilities,

  privileges, advantages, and accommodations shall be afforded to an individual with a disability in

  the most integrated setting appropriate to the needs of the individual.”

                  f.       42 U.S.C. Section 12182(b)(1)(C) provides: “Notwithstanding the existence

  of separate or different programs or activities provided in accordance with this section, an

  individual with a disability shall not be denied the opportunity to participate in such programs or

  activities that are not separate or different.”

                  g.       42 U.S.C. Section 12182(b)(2)(ii) describes as discrimination: “a failure to

  make reasonable modifications in policies, practices, or procedures, when such modifications are

  necessary to afford such goods, services, facilities, privileges, advantages, or accommodations to

  individuals with disabilities, unless the entity can demonstrate that making such modifications

  would fundamentally alter the nature of such goods, services, facilities, privileges, advantages, or




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  accommodations[.]”

                 h.      42 U.S.C. Section 12182(b)(2)(iii) describes as discrimination: “a failure to

  take such steps as may be necessary to ensure that no individual with a disability is excluded,

  denied services, segregated or otherwise treated differently than other individuals because of the

  absence of auxiliary aids and services, unless the entity can demonstrate that taking such steps

  would fundamentally alter the nature of the good, service, facility, privilege, advantage, or

  accommodation being offered or would result in an undue burden[.]”

         20.     As the owner and/or operator of the “That’s a Wrap” sandwich shop APP,

  Defendant is required to comply with the ADA and the provisions cited above. This includes

  Defendant’s obligation to create and maintain an APP that is accessible to and usable by visually

  impaired persons so that they can enjoy full and equal access to the APP and the content therein,

  including the ability to order food and drink using the APP.

         21.     Plaintiff attempted to access and/or utilize Defendant's APP, but was unable to, and

  she continues to be unable to enjoy full and equal access to the APP and/or understand the content

  therein because numerous portions of the APP do not interface with and are not readable by

  Plaintiff’s screen reader software. More specifically, features of the APP that are inaccessible to the

  visually impaired include, but are not limited to, the following (citing the WCAG 2.1 Level A and

  Level AA Guidelines):

    i.   Guideline 1.11 Non-Text content is violated, as the “Place Order” button shown on the last
         screen of the Order Review page includes text that shows the total amount of the order and
         the name of the button, but neither is announced. Screen reader software users only hear
         “button.”

   ii.   Guideline 1.3.1 Info and Relationships is violated. For example, three buttons on the Start
         Order section shown at the bottom of the APP homepage – Focus doesn’t move into this
         element, nor does it move to each button. Users hear “button” and they cannot change the
         store location nor can they change the pickup time.




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   iii.   Guideline 1.3.2 Meaningful Sequence is violated. This guideline requires content to be
          provided in a meaningful order. For example, when focus moves to the “Add a Tip” section
          on the Review Order page, all the tip buttons are announced at once and focus doesn’t
          move to any of the individual buttons so the user cannot select a tip amount.

   iv.    Guideline 2.4.3 Focus Order is violated. Focus order is required to present a logical order
          and in this case, the focus moves to hidden elements so that screen reader software users
          hear items that are not visible.

    v.    Guideline 2.4.6 Headings and Labels are not clear. Section labels are not announced. For
          example, instead of hearing the “Fresh Garden Signature Salads” section and the expand
          button, users just hear "button heading." There is no ability for the users of screen reader
          software to realize the Expand button expands or collapses a section and they cannot
          discern the actual name of the section.

   vi.    Guideline 2.5.3 Label in Name is violated. Any component that has text or an image of text
          must have an accessible name shown in visible text. However, in the APP, when on the
          ordering section, the “back” button is not labeled. Screen reader software users only hear
          “button.”.

  vii.    Guideline 3.3.1 Error identification. Input errors are not clearly identified. When
          attempting to log in with incorrect information, and error message is displayed at the top
          of the screen in red, but focus doesn’t move to the error message the error is not announced.
          Instead, the focus moved to the “close” button and screen reader software users do not hear
          a command that the log in was not successful.

  viii.   Guideline 3.3.2 Labels or Instructions are violated. For example, the “Add” button, which
          is required for a user to add an item to the APP online ordering basket, isn’t labeled. It’s
          simply announced as “button.”

   ix.    Guideline 4.1.2 Name, Roll, Value is violated. This is a critical error. The product options
          are not announced with the correct roll. For example, the checkbox for “Fresh Mozzarella”
          is announced as “dimmed button” so screen reader software users don’t hear that checkbox
          is and the 'dim' informs them that the item is not available so screen reader software users
          don’t realize they can select options which are announced as “dimmed.”

    x.    Guideline 4.1.3 Status Messages is violated. When placing an order, a user must select
          different options which are shown as a checkbox. When selected, each checkbox button
          changes color and a checkmark is displayed so a user can hear that the item was selected,
          but no announcement is made of this fact to screen reader software users.

          22.    Plaintiff continues to attempt to utilize the APP and/or plans to continue to attempt

  to utilize the APP in the near future. In the alternative, Plaintiff intends to monitor the APP in the

  near future, as a tester, to ascertain whether it has been updated to interact properly with screen



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  reader software.

          23.    With respect to its APP, Defendant has violated the ADA by failing to interface its

  APP with software utilized by visually impaired individuals (as specifically delineated within

  paragraph 21) either directly or through contractual, licensing or other arrangements. Defendant’s

  violations have resulted in Defendant denying Plaintiff accommodation on the basis of her

  disability:

                 a.     by depriving Plaintiff of the full and equal enjoyment of the goods, services,

  facilities, privileges, advantages, or accommodations of its place of public accommodation (42

  U.S.C. § 12182(a));

                 b.     in the denial of providing Plaintiff the opportunity to participate in or benefit

  from the goods, services, facilities, privileges, advantages, or accommodations (42 U.S.C. §

  12182(b)(1)(A)(i));

                 c.     in failing to afford Plaintiff the opportunity to participate in or benefit from

  a good, service, facility, privilege, advantage, or accommodation that is equal to that afforded to

  other individuals (42 U.S.C. § 12182(b)(1)(A)(ii));

                 d.     by providing Plaintiff a good, service, facility, privilege, advantage, or

  accommodation that is different or separate from that provided to other individuals (unless

  such action is necessary to provide the individual or class of individuals with a good, service,

  facility, privilege, advantage, or accommodation, or other opportunity that is as effective as that

  provided to others) (42 U.S.C. § 12182(b)(1)(A)(iii));

                 e.     by failing to afford Plaintiff goods, services, facilities, privileges,

  advantages, and accommodations in the most integrated setting appropriate to the needs of the

  disabled individual (42 U.S.C. § 12182(b)(1)(B));




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                 f.      notwithstanding the existence of separate or different programs or activities

  provided in accordance with this section, by denying Plaintiff the opportunity to participate in such

  programs or activities that are not separate or different. (42 U.S.C. § 12182(b)(1)(C));

                 g.      by a failure to make reasonable modifications in policies, practices, or

  procedures, when such modifications are necessary to afford such goods, services, facilities,

  privileges, advantages, or accommodations to individuals with disabilities (unless the entity can

  demonstrate that making such modifications would fundamentally alter the nature of such goods,

  services, facilities, privileges, advantages, or accommodations) (42 U.S.C. § 12182(b)(2)(ii)); and,

                 h.      by a failure to take such steps as may be necessary to ensure that disabled

  individuals are not excluded, denied services, segregated or otherwise treated differently than other

  individuals because of the absence of auxiliary aids and services (unless the entity can demonstrate

  that taking such steps would fundamentally alter the nature of the good, service, facility, privilege,

  advantage, or accommodation being offered or would result in an undue burden) (42 U.S.C. §

  12182(b)(2)(iii)).

         24.     Plaintiff has certain dietary restrictions and Plaintiff would like to be a customer at

  Defendant’s sandwich shops but before Plaintiff patronized any of the That’s a Wrap sandwich

  shops, she would like to determine what is available for her dining selections that would meet her

  dietary restrictions. In that regard, Plaintiff continues to attempt to utilize the APP and/or plans to

  continue to attempt to utilize the APP to review the menu and to order food and drinks.

         25.     Plaintiff is continuously aware of the violations within Defendant's APP and is

  aware that it would be a futile gesture to attempt to utilize the APP as long as those violations exist

  unless she is willing to suffer additional discrimination.

         26.     Plaintiff has suffered (and continues to suffer) frustration and humiliation as the




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  result of the discriminatory conditions present within Defendant's APP. By continuing to operate

  its APP with discriminatory conditions, Defendant contributes to Plaintiff's sense of isolation and

  segregation and deprives Plaintiff the full and equal enjoyment of the goods, services, facilities,

  privileges and/or accommodations available to the general public. By encountering the

  discriminatory conditions within Defendant's APP and knowing that it would be a futile gesture to

  attempt to utilize the APP unless she is willing to endure additional discrimination, Plaintiff is

  deprived of the meaningful choice of freely visiting and utilizing the same accommodations readily

  available to the general public and is deterred and discouraged from doing so. By maintaining an

  APP with violations, Defendant deprives Plaintiff the equality of opportunity offered to the general

  public.

            27.     Plaintiff has suffered (and will continue to suffer) direct and indirect injury as a result

  of Defendant’s discrimination until Defendant is compelled to comply with the requirements of its

  ADA.

            28.     Plaintiff has a realistic, credible, existing and continuing threat of discrimination

  from Defendant’s non-compliance with the ADA with respect to its APP. Plaintiff has reasonable

  grounds to believe that she will continue to be subjected to discrimination in violation of the ADA

  by Defendant. Plaintiff desires to access the APP to avail herself of the benefits, advantages, goods

  and services therein, and/or to assure herself that this APP is in compliance with the ADA so that

  she and others similarly situated will have full and equal enjoyment of the APP without fear of

  discrimination.

            29.     Plaintiff is without adequate remedy at law and has suffered (and will continue to

  suffer) irreparable harm. The Plaintiff and all others similarly situated will continue to suffer such

  discrimination, injury and damage without the immediate relief provided by the ADA as requested




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  herein.

            30.   Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant Plaintiff

  Injunctive Relief, including an order to require Defendant to alter its APP to make it readily

  accessible to and usable by Plaintiff and other persons with vision impairments.

            WHEREFORE, Plaintiff WINDY LUCIUS hereby demands judgment against Defendant

  THATS A WRAP SANDWICH CO. and requests the following injunctive and declaratory relief:

            a.    The Court issue a Declaratory Judgment that determines that Defendant's APP is in

                  violation of Title III of the Americans with Disabilities Act, 42 U.S.C. § 12181 et

                  seq.;

            b.    The Court issue a Declaratory Judgment that Defendant has violated the ADA by

                  failing to monitor and maintain its APP to ensure that it is readily accessible to and

                  usable by persons with vision impairment;

            c.    The Court issue an Order directing Defendant to alter its APP to make it accessible

                  to, and useable by, individuals with disabilities to the full extent required by Title III

                  of the ADA;

            d.    The Court issue an Order directing Defendant provide the appropriate auxiliary aids

                  such that individuals with visual impairments will be able to effectively

                  communicate with its APP for purposes of comprehending Defendant’s menu

                  selections, ordering/paying for gift cards, and making reservations, and during that

                  time period prior to the APP’s being designed to permit individuals with visual

                  impairments to effectively communicate, requiring Defendant to provide an

                  alternative method for individuals with visual impairments to effectively

                  communicate so that disabled individuals are not impeded from obtaining the goods




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                and services made available to the public through Defendant’s APP.

         e.     The Court enter an Order directing Defendant to evaluate and neutralize its policies

                and procedures towards persons with disabilities for such reasonable time so as to

                allow Defendant to undertake and complete corrective procedures;

         f.     The Court enter an Order directing Defendant to continually update and maintain

                its APP to ensure that it remains fully accessible to and usable by visually impaired

                individuals;

         g.     The Court award attorney’s fees, costs and litigation expenses pursuant to 42

                U.S.C. § 12205; and

         h.     The Court provide such other relief as the Court deems just and proper, and/or is

                allowable under Title III of the Americans with Disabilities Act.


  Dated: January 18, 2022
                                              Respectfully submitted,

                                              /s/ J. Courtney Cunningham
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